Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 1 of 29 Page ID #:12




                         EXHIBIT “A”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 2 of 29 Page ID #:13
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 3 of 29 Page ID #:14




                          EXHIBIT “B”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 4 of 29 Page ID #:15
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 5 of 29 Page ID #:16




                         EXHIBIT “C”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 6 of 29 Page ID #:17
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 7 of 29 Page ID #:18




                         EXHIBIT “D”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 8 of 29 Page ID #:19
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 9 of 29 Page ID #:20




                          EXHIBIT “E”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 10 of 29 Page ID #:21
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 11 of 29 Page ID #:22
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 12 of 29 Page ID #:23




                          EXHIBIT “F”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 13 of 29 Page ID #:24
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 14 of 29 Page ID #:25
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 15 of 29 Page ID #:26




                          EXHIBIT “G”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 16 of 29 Page ID #:27
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 17 of 29 Page ID #:28
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 18 of 29 Page ID #:29
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 19 of 29 Page ID #:30
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 20 of 29 Page ID #:31




                          EXHIBIT “H”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 21 of 29 Page ID #:32
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 22 of 29 Page ID #:33
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 23 of 29 Page ID #:34




                           EXHIBIT “I”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 24 of 29 Page ID #:35
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 25 of 29 Page ID #:36




                          EXHIBIT “J”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 26 of 29 Page ID #:37
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 27 of 29 Page ID #:38




                          EXHIBIT “K”
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 28 of 29 Page ID #:39
Case 2:24-cv-02150-SPG-ADS Document 1-1 Filed 03/15/24 Page 29 of 29 Page ID #:40
